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 5
                                   UNITED STATES DISTRICT COURT
 6
                                   FOR THE DISTRICT OF COLUMBIA
 7
 8   UNITED STATES OF AMERICA,                         ) No. 21-CR-687 (FYP)
                                                       )
 9                    Plaintiff,                       )
                                                       ) UNOPPOSED DEFENSE MOTION TO
10               v.                                    ) CONTINUE TRIAL STATUS DATE
                                                       )
11   DAVID CHARLES RHINE,                              )
                                                       )
12                    Defendant.                       )
                                                       )
13          David Rhine, through his attorney, Assistant Federal Public Defender Rebecca
14   Fish, respectfully requests a continuance of the trial status hearing to the week of July
15   25, 2022. The request for continuance is unopposed by the Government, as represented
16   by Assistant United States Attorney Francesco Valentini.
17          1)        Mr. Rhine is charged by Information with:
18
            Count One: Entering and Remaining in a Restricted Building or Grounds, in
19                     violation of 18 U.S.C. § 1752(a)(1);
20
            Count Two: Disorderly and Disruptive Conduct in a Restricted Building or
21                     Grounds, in violation of 18 U.S.C. § 1752(a)(2);
22          Count Three: Disorderly Conduct in a Capitol Building, in violation of 40 U.S.C.
23                       § 5104(e)(2)(D); and

24          Count Four: Parading, Demonstrating, or Picketing in a Capitol Building, in
                        violation of 40 U.S.C. §5104(e)(2)(G).
25
26   Dkt. 8.

                                                                    FEDERAL PUBLIC DEFENDER
       UNOPPOSED MOTION TO CONTINUE                                      1331 Broadway, Suite 400
       TRIAL STATUS HEARING DATE                                               Tacoma, WA 98402
       (United States v. Rhine, 21-CR-687) - 1                                     (253) 593-6710
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 1          2)      Mr. Rhine was arrested on November 9, 2021, in Gig Harbor,
 2   Washington. Dkt. 5. He made his initial appearance on November 9, 2021, before
 3   Magistrate Judge David W. Christel at the United States District Courthouse for the
 4   Western District of Washington in Tacoma. Dkt. 7.
 5          Mr. Rhine was placed on bond and made his initial video appearance before
 6   Magistrate Judge Robin M. Meriweather on November 16, 2021 in the District of
 7   Columbia.
 8          On December 8, 2021, Mr. Rhine appeared via video for arraignment, and upon
 9   motion of the defense, was granted a deferred entry of plea with time excluded under
10   the Speedy Trial Act through February 18, 2022. Dkt. 16.
11          On February 15, 2022, the Court granted the defendant’s unopposed Motion to
12   Continue the Trial Status hearing from February 18, 2022, to March 25, 2022.
13          On March 25, 2022, the parties appeared via videoconference where the Court
14   granted the defense’s oral motion for a continuance of the Trial Status hearing from
15   March 25, 2022, to May 13, 2022.
16          On May 5, 2022 the parties appeared via videoconference where the Court
17   granted the defense’s oral motion for a continuance of the Trial Status hearing from
18   May 13, 2022 to July 15, 2022.
19          The defense now requests a further continuance of the Trial Status hearing to the
20   week of July 25, 2022.
21          3)      Mr. Rhine has been presented with an offer and needs time to consider.
22          For these reasons, the parties request the Court find that:
23          (a) taking into account the exercise of due diligence, a failure to grant a
24   continuance would deny counsel for the defendant the reasonable time necessary for
25   effective preparation, due to counsel’s need for more time to review the evidence,
26

                                                                    FEDERAL PUBLIC DEFENDER
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 1   consider possible defenses, gather evidence material to the defense, and discuss
 2   possible plea negotiations as set forth in 18 U.S.C. § 3161(h)(7)(B)(iv); and
 3            (b) a failure to grant a continuance would likely result in a miscarriage of justice,
 4   as set forth in 18 U.S.C. § 3161(h)(7)(B)(i); and
 5            (c) the case is sufficiently complex that it is unreasonable to expect adequate
 6   preparation for pretrial proceedings or the trial itself within the current trial schedule, as
 7   set forth in 18 U.S.C. § 3161(h)(7)(B)(ii); and
 8            (d) the ends of justice will best be served by a continuance, and the ends of
 9   justice outweigh the best interests of the public and the defendant in any speedier trial,
10   as set forth in 18 U.S.C. § 3161(h)(7)(A); and
11            (e) the additional time requested between the current trial status date of July 15,
12   2022, and the new trial status date is necessary to provide new counsel for the
13   defendant reasonable time to prepare for trial considering all of the facts set forth
14   above.
15            Mr. Rhine has previously executed a speedy trial waiver through July 31, 2022.
16            Defense counsel have conferred with Assistant United States Attorney Francesco
17   Valentini who has no objection to a continuance of the trial status date.
18            The parties further ask the Court to exclude the time period from the date of this
19   motion to the new trial status date for purposes of computing the time limitations
20   imposed by the Speedy Trial Act.
21            DATED this 12th day of July, 2022.
22                                                   Respectfully submitted,
23
                                                     s/ Rebecca Fish
24                                                   Assistant Federal Public Defender
                                                     Attorney for David Charles Rhine
25
26

                                                                     FEDERAL PUBLIC DEFENDER
       UNOPPOSED MOTION TO CONTINUE                                       1331 Broadway, Suite 400
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